Case 3:08-cv-00646-REP Document 7 Filed 11/24/08 Page 1 of 4 PagelD# 35

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

PETER J. ABRUZZO, )
Plaintiff,
Vv. ) Civil Action No. 3:08cv646
S&K FAMOUS BRANDS, INC.,
Defendant. )
ANSWER

Plaintiff/Counterclaim defendant Peter J. Abruzzo (“Abruzzo’’), by counsel, answers

Defendant/Counterclaim plaintiff S&K Famous Brands, Inc.’s (“S&K’’) Counterclaim as

follows:

1. No response is necessary.

2. Admitted. Abruzzo avers that the Consulting Agreement was amended on August
1, 2007 and June 10, 2008.

3. In response to the allegations in paragraph 3, Abruzzo states that the terms of the

Consulting Agreement speak for themselves.

4. Abruzzo is without sufficient knowledge or information to admit or deny the
allegations in paragraph 4 and consequently denies them. Abruzzo also avers he performed all of
his duties under the Consulting Agreement, and S&K never complained about his performance.

5. Abruzzo is without sufficient knowledge or information to admit or deny the
allegations in paragraph 5 and consequently denies them.

6. Denied.
Case 3:08-cv-00646-REP Document 7 Filed 11/24/08 Page 2 of 4 PagelD# 36

7. In response to the allegations in paragraph 7, Abruzzo admits that he met with
employees of S&K in April 2008, and that they discussed S&K’s men’s formal wear business.

Abruzzo denies all remaining allegations in paragraph 7.

8. Denied.
9. Admitted.
10. Abruzzo is without sufficient knowledge or information to admit or deny the

allegations in paragraph 10 and consequently denies them.

11. Abruzzo is without sufficient knowledge or information to admit or deny the
allegations in paragraph 11 and consequently denies them.

12. Denied.

13. Admitted. Abruzzo avers that S&K wrongfully terminated the Consulting
Agreement without proper justification or cause. |

14. Denied.

15. Abruzzo incorporates his responses to paragraphs 1-14 of the Counterclaim as if

set forth fully herein.
16. Denied.
17. _—_ Denied.
18. Denied.
19. _—— Denied.

20. Abruzzo incorporates his responses to paragraphs 1-19 of the Counterclaim as if
set forth fully herein.
21. The allegations in paragraph 21 are legal conclusions that Abruzzo is not required

to admit or deny.
Case 3:08-cv-00646-REP Document 7 Filed 11/24/08 Page 3 of 4 PagelD# 37

22. Denied.
23. Denied.
24. Denied.

25. All allegations in the Counterclaim not specifically admitted are denied.
FIRST AFFIRMATIVE DEFENSE
26. The Counterclaim fails, in whole or in part, to state a claim upon which relief can
be granted.
SECOND AFFIRMATIVE DEFENSE
27. Abruzzo performed all of his obligations under the Consulting Agreement and
complied with its terms.
THIRD AFFIRMATIVE DEFENSE
28. Abruzzo specifically denies that he committed any of the wrongful acts alleges
herein and that S&K has suffered any injury, damage or loss.
FOURTH AFFIRMATIVE DEFENSE
29. Abruzzo reserves the right to assert any and all additional defenses as may be

determined during the course of discovery.

WHEREFORE, Peter J. Abruzzo respectfully requests that the Court enter judgment on
the Counterclaim in favor of Abruzzo and against S&K, award Abruzzo his costs and fees

incurred herein, and grant such further relief as this Court deems just and proper.
Case 3:08-cv-00646-REP Document 7 Filed 11/24/08 Page 4 of 4 PagelD# 38

PETER J. ABRUZZO

/s/ Michael E. Lacy

Andrew G. Mauck, VSB No. 35177
andy.mauck@troutmansanders.com
Michael E. Lacy, VSB No. 48477
michael. lacy@troutmansanders.com
TROUTMAN SANDERS LLP

Post Office Box 1122

Richmond, Virginia 23218-1122
Telephone: (804) 697-1200
Fascimile: (804) 697-1339

Counsel for Peter J. Abruzzo

CERTIFICATE OF SERVICE

I hereby certify that on this 24th day of November, 2008, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to:

Jeffrey S. Shapiro, Esquire
jshapiro@mcguirewoods.com
Jennifer M. Campbell, Esquire
jmcampbell@mcguirewoods.com
McGuireWoods LLP

One James Center

901 East Cary Street

Richmond, Virginia 2321

Counsel for S&K Famous Brands

1781160v1

/s/ Michael E. Lacy

Andrew G. Mauck, VSB No. 35177
andy.mauck@troutmansanders.com
Michael E. Lacy, VSB No. 48477
michael.lacy@troutmansanders.com
TROUTMAN SANDERS LLP
Post Office Box 1122

Richmond, Virginia 23218-1122
Telephone: (804) 697-1200
Fascimile: (804) 697-1339
Counsel for Peter J. Abruzzo
